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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ESSIE HAMILTON,

       Plaintiff,
                                                     CASE NO.: 8:16-cv-00042-MSS-AEP
v.

CREDIT PROTECTION ASSOCIATION,
LP,

      Defendant.
______________________________________________________________________________

                           NOTICE OF PENDING SETTLEMENT


       PLAINTIFF, ESSIE HAMILTON, by and through her undersigned counsel, hereby

submits this Notice of Pending Settlement and states that Plaintiff, ESSIE HAMILTON, and

Defendant, CREDIT PROTECTION, have reached a settlement with regard to this case and are

presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of same, the parties will file the appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 23h day of November, 2016, the foregoing was served

using the CM/ECF system, which will provide electronic notice of filing to all counsel of record.

                                                /s/ Amanda J. Allen
                                               Amanda J. Allen, Esquire
                                               Florida Bar No.: 0098228
                                               THE CONSUMER PROTECTION FIRM, PLLC
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